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                       EXHIBIT 2
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                           THE ROSEN LAW FIRM P.A.
                                 BIOGRAPHY

I.     ATTORNEYS
LAURENCE ROSEN - MANAGING PARTNER

       Laurence Rosen is a 1988 graduate of New York University School of Law. He earned

an M.B.A. in finance and accounting at the University of Chicago Graduate School of Business

and a B.A. in Economics from Emory University. Mr. Rosen served as a law clerk to the

Honorable Stanley S. Brotman, Senior United States District Judge for the District of New

Jersey. Mr. Rosen entered private practice as an associate at the law firm of Skadden Arps Slate

Meagher & Flom in New York City where he participated in a number of complex securities

class action and derivative litigation matters. He later served as an associate at McCarter &

English in Newark, New Jersey where he specialized in securities and business litigation.

       After practicing general securities and commercial litigation in New York City with

Solton Rosen & Balakhovsky LLP, Mr. Rosen founded The Rosen Law Firm to represent

investors exclusively in securities class actions and derivative litigation. Mr. Rosen is admitted

to practice law in New York, California, Florida, New Jersey and the District of Columbia. Mr.

Rosen is also admitted to practice before numerous United States District Courts throughout the

country and the United States Court of Appeals for the Second, Fourth, and Sixth Circuits.

PHILLIP KIM – PARTNER

       Mr. Kim graduated from Villanova University School of Law in 2002. He received a

B.A. in Economics from The Johns Hopkins University in Baltimore, Maryland in 1999. Prior to

joining The Rosen Law Firm, Mr. Kim served as Assistant Corporation Counsel for the City of

New York in the Special Federal Litigation Division. In that position, Mr. Kim defended a


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number of class action lawsuits, litigated numerous individual actions, and participated in more

than seven trials. Mr. Kim focuses his practice on securities class actions and shareholder

derivative litigation. Mr. Kim is admitted to the bar of the State of New York and admitted to

practice in the United States District Courts for the Southern District of New York, the Eastern

District of New York and the District of Colorado, and the United States Court of Appeals for

the Second Circuit.

SARA FUKS – ATTORNEY

       Ms. Fuks graduated from Fordham University School of Law, cum laude, in February

2005, where she was a member of Fordham Law Review. She received her B.A. in Political

Science, magna cum laude, from New York University in 2001. Ms. Fuks began her practice at

Dewey Ballantine, LLP where she focused on general commercial litigation and then went on to

prosecute numerous ERISA and securities class actions as an associate at Milberg LLP. Ms.

Fuks is admitted to the bar of the State of New York and admitted to practice in the United States

Southern and Eastern District Courts of New York.

JONATHAN STERN – ATTORNEY

       Mr. Stern graduated from New York University School of Law in May of 2008, where he

was a Development Editor of the Annual Survey of American Law. He received his B.A. in

Philosophy with Honors from McGill University. Mr. Stern began his practice in the litigation

department of Simpson Thacher & Bartlett LLP, and then went on to practice at the litigation

boutique of Simon & Partners LLP, where he participated in a Federal trial. Mr. Stern is

admitted to the bar of the State of New York and admitted to practice in the United States

Southern and Eastern District Courts of New York.




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JONATHAN HORNE- ATTORNEY

       Mr. Horne is a 2009 graduate of New York University School of Law, where he received

the Lederman/Milbank Law, Economics, and Business fellowship, and holds a B.A. in

Economics & Philosophy from the University of Toronto. Mr. Horne began his practice at Kaye

Scholer LLP. Mr. Horne specializes in securities litigation. He is admitted to practice in New

York and the United States District Courts for the District of Colorado and the Southern and

Eastern Districts of New York.

YU SHI – ATTORNEY

       Mr. Shi received his J.D. from Columbia University School of Law in 2011 and his B.A.,

cum laude, from Columbia University in 2008. Prior to joining The Rosen Law Firm, Mr. Shi

served as a Special Assistant Corporation Counsel in the New York City Law Department’s

Economic Development Division, where he worked on business and commercial transactions

involving the City of New York. Mr. Shi focuses his practice on securities litigation. He is

admitted to practice in the State of New York and the United States District Court for the

Southern District of New York.

KEVIN CHAN - ATTORNEY

       Mr. Chan graduated from Brooklyn Law School in 2012. He received an A.B. in

Psychology from Harvard University in 2007. Prior to joining the Rosen Law Firm, Mr. Chan

gained substantive experience as an intern with the U.S. Securities and Exchange Commission as

part of its Summer Honors Law Program. He is admitted to practice in the State of New York

and in the United States District Courts for the Eastern and Southern Districts of New York.




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ERICA STONE- ATTORNEY

       Ms. Stone graduated from the Benjamin N. Cardozo School of Law in 2013. She received

her B.A. in Political Science and Communications, cum laude, from the University of

Pennsylvania in 2009. She is admitted to practice in New York, New Jersey, and the United

States District Courts for the Southern District of New York and the District of New Jersey.

JING CHEN - ATTORNEY

       Ms. Chen received a Juris Doctor degree from Pace University School of Law in 2011,

Juris Master degree from China University of Political Science and Law in Beijing, China and

B.A. in English Literature and Linguistics from Shandong University in Jinan, China. She is

admitted to practice in New York, New Jersey and China. Prior to joining The Rosen Law Firm,

Ms. Chen practiced corporate law, commercial transactions and arbitration for over two years.

CHRISTOPHER S. HINTON – OF COUNSEL

       Mr. Hinton is admitted to the bars of the State of New York, the United States District

Court for the Southern District of New York, United States District Court for the Eastern District

of Wisconsin, and the United States District Court for the District of Nebraska. He received a

B.A. degree in Economics and Political Science in 1997, magna cum laude, from Marquette

University, where he was elected to Phi Beta Kappa, and received a J.D. degree, cum laude, from

University of Illinois College of Law at Champaign in 2002. His primary area of practice is

securities and ERISA class action litigation. He co-authored Foreign Investors Serving as Lead

Plaintiffs in U.S.- Based Securities Cases, International Practice Section Newsletter (Association

of Trial Lawyers of America, Washington, D.C.), Winter 2004 and Spring 2005. Mr. Hinton has

been a member of the plaintiffs’ bar since 2003 and has focused on class action litigation.




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II.     RECENT ACCOMPLISHMENTS OF THE ROSEN LAW FIRM PA

        In re Silvercorp Metals, Inc. Securities Litigation, No. 12-CV-9456 (JSR). The Rosen

Law Firm was counsel to lead plaintiff in this consolidated class action in the U.S. District Court

for Southern District of New York. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading financial information. The parties agreed to settle this action for $14 million in cash.

        Hellum v. Prosper Marketplace, Inc., No. CGC-08-482329. The Rosen Law Firm was

class counsel in this certified class action in California Superior Court, San Francisco County

alleging violations of the Securities Act of 1933 and the California Corporations Code in

connection with defendants’ offer and sale of unregistered securities. Plaintiffs settled this action

for $10 million in cash.

        In re Textainer Financial Servs. Corp., No. CGC 05-440303. The Rosen Law Firm was

Co-Lead Counsel in this class action in the California Superior Court, San Francisco County

alleging breach of fiduciary duty in connection with the sale of the assets of six related publicly

traded limited partnerships. After winning the first phase of a multi-phase bench trial, Plaintiffs

obtained a $10 million cash settlement for class members.

        Friedman v. Quest Energy Partners LP, et al., Case No. CIV-08-936-M. The Rosen Law

Firm was sole Lead Counsel on behalf of purchasers of Quest Resource Corporation’s securities

in this consolidated class action filed in the U.S. District Court for the Western District of

Oklahoma. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading statements in

connection with the Company’s former CEO and CFO misappropriating nearly $10 million. All

classes and parties to this litigation settled this action for $10.1 million in cash.



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       Hufnagle v. RINO International Corporation, No. CV 10-8695-VBF (VBKx) (Partial

Settlement). The Rosen Law Firm is currently serving as sole Lead Counsel in this consolidated

class action pending in the U.S. District Court for the Central District of California. The

complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading statements of revenue and earnings. The

parties agreed to a partial settlement for $7 million in cash.

       Blitz v. AgFeed Industries, No. 3:11-0992. The Rosen Law Firm was co-Lead Counsel

in this consolidated class action in the U.S. District Court for the Middle District of Tennessee.

The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out

of the Company’s issuance of materially false and misleading financial information. The parties

agreed to settle this action for $7 million in cash.

       Cole v. Duoyuan Printing, Inc., Case No. 10-CV-7325(GBD). The Rosen Law Firm is

currently serving a Co-Lead Counsel in this class action pending in the U.S. District Court for

the Southern District of New York. The complaint alleges violations of §§ 11, 12(a)(2), and 15

of the Securities Act of 1933 and §§10b and 20(a) of the Securities Exchange Act arising out of

the Company’s issuance of materially false and misleading statements about the Company’s true

financial condition and adequacy of the Company’s internal controls. Plaintiffs and the issuer

defendants agreed to a partial settlement of $4.3 million cash payment to class members.

Plaintiffs and the underwriters agreed to a separate $1,893,750 cash payment to class members

pending court approval. The total settlement is $6,193,750 in cash.

       In re Nature’s Sunshine Products, Inc. Securities Litigation, Case No. 2:06-cv-00267-TS-

SA. The Rosen Law Firm was sole Lead Class Counsel in this class action in the U.S. District

Court for the District of Utah. The complaint alleged violations of §§ 10b and 20(a) of the

Securities Exchange Act arising out of the Company’s materially false and misleading statements

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concerning its financial statements and business practices. Following the certification of the

class and extensive discovery, Plaintiffs agreed to settle this case for $6 million in cash.

       Bensley v. FalconStor Software, Inc., No. 10-CV-4672 (ERK) (CLP). The Rosen Law

Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for the

Eastern District of New York. The complaint alleged violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading statements about the Company’s true financial and business condition. The parties

agreed to settle this action for $5 million in cash.

       In re Entropin, Inc. Securities Litigation, Case No. CV 04-6180-RC. The Rosen Law

Firm was counsel to Plaintiff in this securities class action in the United States District Court for

the Central District of California, and Lead Counsel in the related class action brought in

California state court against Entropin, Inc., a defunct pharmaceutical company. These actions

alleged violations of §§ 10b and 20(a) of the Securities Exchange Act and violations various

state securities laws arising out of allegedly false and misleading statements about the

Company’s lead drug candidate Esterom, respectively. On the eve of trial, Defendants agreed to

settle these cases for a $4.5 million cash payment to class members.

       Fitzpatrick v. Uni-Pixel, Inc., No. 13-CV-01649. The Rosen Law Firm is currently

serving as co-Lead Counsel in this class action pending in the U.S. District Court for the

Southern District of Texas. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company concealing its true financial condition. The parties

agreed to settle this action for $4.5 million consisting of $2.35 million in cash and $2.15 million

in stock, pending court approval.

       Munoz v. China Expert Technology, Inc., Case No. 07-CV-10531 (AKH). The Rosen

Law Firm was sole Lead Counsel in this class action in the U.S. District Court for the Southern

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District of New York. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act arising out of: (a) the Company’s issuance of materially false statements of

revenues and earnings; and (b) the Company’s auditors’ issuance of materially false and

misleading “clean” audit opinions. The parties settled this action for $4.2 million cash payment

to class members.

       Stanger v. China Electric Motor, Inc., Case no. CV 11-2794-R (AGRx). The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Central District

of California. The complaint alleged violations of §§ 11, 12(a)(2), and 15 of the Securities Act

of 1933 in connection with the Company’s $22.5 million initial public offering. The parties

agreed to settle this action for $3,778,333.33 in cash.

       In re L&L Energy, Inc. Securities Litigation, No. 13-CV-6704 (RA) The Rosen Law

Firm is currently serving as co-Lead Counsel in this class action pending in the U.S. District

Court for the Southern District of New York. The complaint alleges violations of §§ 10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of false financial

statements. The parties have preliminarily agreed to settle this action for $3.5 million in cash,

pending court approval.

       Sood v. Catalyst Pharmaceutical Partners, Inc., No. 13-CV-23878-UU. The Rosen Law

Firm is currently serving as sole lead counsel in this certified class action pending in the U.S.

District Court for the Southern District of Florida. The complaint alleges that the Company

failed to disclose material facts about its primary drug candidate. The parties have preliminarily

agreed to settle this action for $3.5 million in cash, pending court approval.

       In re StockerYale, Inc. Securities Litigation, Case No. 1:05-cv-00177. The Rosen Law

Firm served as sole Lead Counsel in this consolidated class action in the U.S. District Court for

the District of New Hampshire. The complaint alleged violations of §§ 10b, 20(a) and 20A of

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the Securities Exchange Act arising out of the issuance of allegedly false and misleading press

releases regarding certain contracts the Company claimed to have signed. Plaintiffs settled this

class action for $3.4 million cash payment to class members.

       Mallozzi v. Industrial Enterprises of America, Inc., Case No. 07-CV-10321 (GBD). The

Rosen Law Firm was Co-Lead Counsel in this class action in the U.S. District Court for the

Southern District of New York. The complaint alleged violations of §§ 10b and 20(a) of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading statements of revenues and earnings. During the pendency of the Company’s

bankruptcy, the parties settled this class action for $3.4 million in cash.

       Meruelo Capital Partners 2, LLC et al. v. Wedbush Morgan Securities, Inc., Case no. BC

352498. The Rosen Law Firm was co-counsel to plaintiffs in this action brought in California

Superior Court, Los Angeles County for violations of the California State securities laws against

the securities issuer and broker-dealer in connection with the sale of $2.5 million worth of

securities. On the eve of trial, plaintiffs settled the claims against the issuer for a cash payment

of $1 million. Following an eight day jury trial, Plaintiffs obtained a jury verdict in their favor

and against the underwriter for over $2.2 million (which included prejudgment interest). In sum,

plaintiffs recovered over $3.2 million, which represented 100% of plaintiffs’ principal

investment of $2.5 million and over $700,000 in prejudgment interest. The verdict was affirmed

by the California 2nd District Court of Appeal.

       Ray v. TierOne Corporation, Case No. 10CV199. The Rosen Law Firm was sole Lead

Counsel in this class action brought in the U.S. District Court for the District of Nebraska. The

complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of materially false and misleading statements of earnings and the




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Company’s banking operations and business. The parties settled this action for $3.1 million in

cash.

        In re Skilled Healthcare Group, Inc. Securities Litigation, Case No. 2:09-CV-5416-DOC

(RZx). The Rosen Law Firm was Co-Lead Counsel in this class action in the U.S. District Court

for the Central District of California. The complaint alleged violations of the §§ 11, 12(a)(2),

and 15 of the Securities Act of 1933 and §§10b and 20(a) of the Securities Exchange Act arising

out of the Company’s issuance of materially false and misleading statements of revenue and

earnings. Plaintiffs settled this action for $3 million in cash.

        Madden v. Pegasus Communications Corp, Case No. 2:05-cv-0568. The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Eastern District

of Pennsylvania. The action alleged violations of §§ 10b and 20(a) of the Securities Exchange

Act arising out of the issuance of allegedly false and misleading statements concerning the

Company’s direct broadcast satellite agreement with DirecTV and the Company’s reported

subscriber growth and totals. Plaintiffs settled this action for a $2.95 million cash payment to

class members.

        In re TVIA, Inc. Securities Litigation, Case No. C-06-06403-RMW. The Rosen Law

Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for the

Northern District of California. The complaint alleged violations of §§ 10b, 20(a), 20A of the

Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading financial statements by virtue of the Company improper recognition of revenues in

violation of GAAP. Plaintiffs settled this action for a $2.85 million cash payment to class

members.

        Zagami v. Natural Health Trends Corp., et al., Case No. 3:06-CV-1654-D. The Rosen

Law Firm served as sole Lead Counsel in this class action in the U.S. District Court for the

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Northern District of Texas. The complaint alleged violations of § 10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading financial

statements in violation of GAAP. Plaintiffs settled this case for $2.75 million cash payment to

class members.

       Nguyen v. Radient Pharmaceuticals Corporation, Case No. CV11-0405-DOC (MLGx).

The Rosen Law Firm was sole Lead Counsel in this class action pending in the U.S. District

Court for the Central District of California. The complaint alleged violations of §§10b and 20(a)

of the Securities Exchange Act arising out of the issuance of false statements concerning the

Company’s clinical trial involving its principal product. The parties agreed to settle this action

for $2.5 million in cash.

       In re Robert T. Harvey Securities Litigation, Case No. SA CV-04-0876 DOC (PJWx).

The Rosen Law Firm served as Co-Lead Counsel in this class action in the U.S. District Court

for the Central District of California and the related California state court class actions. This

action alleged violations of §§ 10b and 20(a) of the Securities Exchange Act arising out of the

sale of partnership interests that corresponded to the securities of Chaparral Network Storage and

AirPrime, Inc., n/.k/a Sierra Wireless, Inc. Plaintiffs settled this and the related state court

actions for an aggregate $2.485 million cash payment to class members.

       In re China Education Alliance, Inc. Securities Litigation, No. C 10-9239-CAS (JCx).

The Rosen Law Firm was sole Lead Counsel in this consolidated class action pending in the U.S.

District Court for the Central District of California. The complaint alleges violations of §§10b

and 20(a) of the Exchange Act arising out of the Company’s issuance of materially false and

misleading statements of revenue and earnings. The parties settled this action for $2.425 million

in cash.




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        Kubala v. SkyPeople Fruit Juice, No. 11-CV-2700 (PKC). The Rosen Law Firm was sole

Lead Counsel in this consolidated class action in the U.S. District Court for the Southern District

of New York. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act out of the Company’s failure to disclose material related party transactions that rendered the

Company’s financial statements false. The parties agreed to settle this action for $2.2 million in

cash.

        In re Fuwei Films Securities Litigation, Case no. 07-CV-9416 (RJS). The Rosen Law

Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for the

Southern District of New York. The complaint alleged violations of §§ 11, 12(a)(2), and 15 of

the Securities Act of 1933 in connection with material misrepresentations in the Company’s

Registration Statement and Prospectus in connection with the Company’s $35 million IPO. The

parties settled this action for $2.15 million cash payment to class members.

        Rose v. Deer Consumer Products, Inc., Case No. CV11-3701 –DMG (MRWx). The

Rosen Law Firm is currently serving as sole Lead Counsel in this class action pending in the

U.S. District Court for the Central District of California. The complaint alleges violations of

§§10b and 20(a) of the Securities Exchange Act arising the issuance of false statements

concerning the Company’s true financial condition. The parties agreed to a partial settlement for

$2.125 million in cash. The case is ongoing against Deer’s auditor.

        Snellink v. Gulf Resources, Inc., No.CV11-3722-ODW (MRWx). The Rosen Law Firm

was co-Lead Counsel in this class action in the U.S. District Court for the Central District of

California. The complaint alleged violations of §§ 10b and 20(a) of the Securities Exchange Act

arising out of the Company’s failure to disclose the related party nature of certain transactions,

and the Company’s issuance of false financial statements. The parties agreed to settle this action

for $2.125 million in cash.

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       Snellink v. Universal Travel Group, Inc., Case No.11-CV-2164 (SDW). The Rosen Law

Firm is currently serving as sole Lead Counsel in this class action pending in the U.S. District

Court for the District of New Jersey. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising the issuance of false statements concerning the Company’s true

financial condition. The parties have preliminarily agreed to a partial settlement of this action

for $2 million in cash, pending court approval.

       Henning v. Orient Paper, Inc., No. CV 10-5887-VBF (AJWx). The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for the Central District of

California. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

and certain violations of the Securities Act arising out of the Company’s issuance of materially

false and misleading statements about the Company’s true financial condition and business

prospects. The parties settled this action for $2 million in cash.

       Campton v. Ignite Restaurant Group, Inc., No. 12-CV-2196. The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the Southern District of Texas. The complaint alleges violations of the Securities Act of 1933 in

connection with material misrepresentations in the Company’s Registration Statement and

Prospectus issued for the company’s IPO. The parties have preliminarily agreed to the settle this

action for $1.8 million in cash, pending court approval.

       Hayden v. Wang, et al., No. Civ. 518333. The Rosen Law Firm is sole lead counsel in

this class action pending in the California Superior Court of San Mateo County brought on

behalf of purchasers of Worldwide Energy & Manufacturing USA, Inc. common stock in two

private placements. The Complaint alleges that the offering documents contained were

materially false. The parties have preliminarily agreed to the settle this action for $1,615,000 in

cash, pending court approval.

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       Burritt v. Nutracea, Inc., Case No.CV-09-00406-PHX-FJM. The Rosen Law Firm was

sole Lead Counsel in this consolidated class action in the U.S. District Court for the District of

Arizona. This action alleged violations of §§ 10b and 20(a) of the Securities Exchange Act of

1934 and the Arizona securities laws in connection with the Company’s issuance of materially

false and misleading statements of earnings and revenues. During the pendency of the

Company’s bankruptcy, Plaintiffs settled this action for $1.5 million in cash and a remainder

interest of 50% of the issuer’s directors’ and officers’ liability insurance policy.

       Press v. Delstaff LLC, No. MSC 09-01051. The Rosen Law Firm was sole Lead Counsel

in this class action in the California Superior Court for Contra Costa County, brought in

connection with a “going private” transaction valued at $1.25/share for the 6.4 million shares

implicated in the transaction. The parties settled this action for $1,642,500 in additional

compensation to shareholders.

       In re Lightinthebox Holding Co., Ltd., 13-CV-6016 (PKC). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

Southern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company concealing its true financial condition. The

parties have agreed to settle this action for $1.55 million, pending court approval.

       Guimetla v. Ambow Education Holding Ltd., No. CV-12-5062-PSG (AJWx). The Rosen

Law Firm is currently serving as sole Lead Counsel in this class action pending in the U.S.

District Court for the Central District of California. The complaint alleges violations of the

Securities Exchange Act of 1934 in connection with the Company’s issuance of materially false

and misleading financial statements. This parties have agreed to settle this action for $1.5

million, pending court approval.




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       Lee v. Active Power, Inc., No. l:13-cv-00797. The Rosen Law Firm is currently serving

as sole Lead Counsel in this class action pending in the U.S. District Court for the Western

District of Texas. The complaint alleges violations of §§ 10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of false statements relating to a purported

distribution agreement with a major information technology provider. The parties have agreed to

settle this action for $1.5 million, pending court approval.

       In re Northfield Laboratories, Inc. Securities Litigation, Case No. 06 C 1493. The Rosen

Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District Court for

the Northern District of Illinois. The complaint alleged violations of §§ 10b and 20(a) of the

Securities Exchange Act arising out of the Company’s materially false and misleading statements

concerning its PolyHeme blood substitute product and business prospects. Following extensive

class discovery and litigation activity in bankruptcy court, the parties agreed to settle this action

for $1.5 million in cash.

       In re PartsBase.com, Inc. Securities Litigation, Case No. 01-8319. The Rosen Law Firm

was Co-Lead Counsel in this class action in the U.S. District Court for the Southern District of

Florida. The action arose from a $45.5 million initial public offering of common stock by the

defendant issuer and a syndicate of underwriters including Roth Capital Partners and PMG

Capital Corp. Plaintiffs settled this action for $1.5 million cash settlement for class members.

       In re Empyrean Bioscience Securities Litigation, Case No. 1:02CV1439. This class

action in which the Rosen Law Firm was sole Lead Counsel was filed in the U.S. District Court

for the Northern District of Ohio. The action alleged violations of §§10b and 20(a) of the

Securities Exchange Act based on misrepresentations in defendants’ SEC filings and press

releases concerning the clinical testing of the Company’s GEDA Plus microbicide gel. After the

court denied defendants’ motion to dismiss the complaint, the parties briefed the issue of whether

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the securities were traded in an efficient market. Prior to a decision on market efficiency,

Plaintiffs settled the case for a $1.4 million payment to class members.

       In re Himax Technologies, Inc. Securities Litigation, Case No. C 07-4891-DDP. The

Rosen Law Firm served as Co-Lead Counsel in this consolidated class action in the U.S. District

Court for the Central District of California, Western Division. The complaint alleged violations

of §§ 11 and 15 of the Securities Act arising out of the Company’s IPO. Plaintiffs agreed to

settle this case for $1.2 million cash payment to class members.

       In re Flight Safety Technologies, Inc. Securities Litigation, Case No. 3:04-cv-1175. The

Rosen Law Firm was sole Lead Counsel in this consolidated class action in the U.S. District

Court for the District of Connecticut. The action alleged violations of §§ 10b and 20(a) of the

Securities Exchange Act arising out of the defendants alleged failure to disclose material adverse

information concerning the Company’s products under development and misrepresenting the

amount of time it would take to commercialize the products. Plaintiffs settled the case for a $1.2

million cash payment to class members.

       In re: M.H. Meyerson & Co. Securities Litigation, Case No. 02-CV-2724. This class

action, in which the Rosen Law Firm was sole Lead Counsel, was filed in U.S. District Court for

District of New Jersey. The complaint alleged violations of §§10b and 20(a) of the Securities

Exchange Act based on allegedly false and misleading SEC filings related to the planned launch

of an online brokerage business, and other material misrepresentations, which allegedly inflated

the price of Meyerson stock during the class period. Plaintiffs settled the case for a $1.2 million

payment to class members.

       In re OPUS360 Corp. Securities Litigation, Case No. 01-Civ-2938. The Rosen Law Firm

was Co-Lead Counsel for this action brought in the Southern District of New York alleging

violations of the federal securities laws arising from a $75.0 million initial public offering of

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common stock by the defendant issuer and a syndicate of underwriters including JP Morgan and

Robertson Stephens, Inc. The Court certified the action as a class action and approved a final

settlement.

       Ansell v. National Lampoon, Inc., Case No. CV10-9292-PA (AGRx). The Rosen Law

Firm was sole Lead Counsel in this class action in the U.S. District Court for the Central District

of California. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange

Act arising out of a market manipulation scheme involving National Lampoon’s common stock.

The parties agreed to settle this action for $1 million in cash.

       Fouladian v. Busybox.com, Inc., Case No. BC 248048. The Rosen Law Firm was Co-

Lead Counsel in this class action brought in California Superior Court, Los Angeles County.

The action arose from a $12.8 million initial public offering of securities by the defendant issuer

and underwriter. California and federal securities laws claims (Cal. Corp. Code §25401 and §11

of 1933 Act) were brought on behalf of a nationwide class of public offering investors. The

Court approved a $1.0 million cash settlement to a nationwide class of investors.

       Howard v. Chanticleer Holdings, Inc.., No. 12-CV-81123-JIC. The Rosen Law Firm was

sole Lead Counsel in this class action in the U.S. District Court for the Southern District of

Florida. The complaint alleged violations of the Securities Act of 1933 in connection with

material misrepresentations in the Company’s Registration Statement and Prospectus issued for

the Company’s public offering of common stock and warrants. The parties have agreed to settle

this action for $850,000 in cash.

       Katz v. China Century Dragon Media, Inc., Case no. CV 11-02769 JAK (SSx). The

Rosen Law Firm is currently serving as sole Lead Counsel in this class action pending in the

U.S. District Court for the Central District of California. The complaint alleges violations of §§

11, 12(a)(2), and 15 of the Securities Act of 1933 and §§10b and 20(a) of the Securities

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Exchange Act arising out of the Company’s issuance of materially false and misleading financial

statements. Following entry of default against the issuer and certification of the class, the non-

issuer defendants and Plaintiffs have preliminarily agreed to resolve the claims against the non-

issuer defendants for $778,333.33, subject to court approval.

       In re China Intelligent Lighting and Electronics, Inc. Securities Litigation, No. 2:11-CV-

02768 PSG (SSx). The Rosen Law Firm was co-Lead Counsel in this consolidated class action

in the U.S. District Court for the Central District of California. The complaint alleged violations

of §§ 11, 12(a)(2), and 15 of the Securities Act of 1933 and §§10b and 20(a) of the Securities

Exchange Act arising out of the Company’s issuance of materially false and misleading financial

statements. The parties agreed to partially settle this action for $631,600 in cash. A default

judgment was obtained against the issuer.

       Gianoukas v. Tullio and Riiska, Case No. 02CC18223. The Rosen Law Firm was lead

counsel to a group of twenty-one plaintiffs that brought claims of fraud and negligent

misrepresentation in California Superior Court, Orange County against the former Chief

Executive and Chief Financial Officers of a publicly traded software company, NQL Inc. The

complaint alleged that the officers issued a series of false and misleading press releases

concerning the business of NQL for the purpose of inducing the purchase and retention of NQL

securities. Plaintiffs settled the action favorably for a confidential amount.

       The BoxLot Company v. InfoSpace, Inc., Case No. GIC 779231. The Rosen Law Firm

was plaintiff’s counsel for this action filed in California Superior Court, San Diego County

which arose from the aborted merger agreement and ultimate sale of The BoxLot Company’s

assets to InfoSpace. The action alleged violations of California securities laws (Cal. Corp. Code

§25400 & §25401) and common laws and sought damages of $92.8 million from InfoSpace and

its CEO, Naveen Jain. The case settled favorably for plaintiffs for a confidential amount.

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       Teague v. Alternate Energy Holdings, Inc., No. 10-CV-634-BLW. The Rosen Law Firm

was sole Lead Counsel in this class action pending in the U.S. District Court for the District of

Idaho. The complaint alleged violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading financial statements

and business condition. The parties settled this action for $450,000.

       Huttenstine v. Mast, Case No. 4:05-cv-152 F(3). The Rosen Law Firm is currently

serving as sole Lead Counsel in this class action pending in the U.S. District Court for the

Eastern District of North Carolina. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company’s material misstatements and omissions

concerning the nature of certain sales contracts it had entered into. Plaintiffs have preliminarily

agreed to settle this action for a $425,000 cash payment to class members.

       Kinzinger v. Paradigm Medical Industries, Inc., Case No. XX-XXXXXXX. The Rosen Law

Firm served as sole Lead Counsel in this class action filed in Utah state court alleged violations

of the Utah Securities Act against Paradigm Medical arising out of false and misleading

statements made to investors in a $5.0 million private placement of securities. The court

approved a $625,000 settlement on behalf of the private placement purchasers.

III. SECURITIES CLASS ACTIONS IN WHICH THE ROSEN LAW FIRM P.A. IS
CURRENTLY LEAD COUNSEL

       Hufnagle v. RINO International Corporation, No. CV 10-8695-VBF (VBKx). The Rosen

Law Firm is currently serving as sole Lead Counsel in this consolidated class action pending in

the U.S. District Court for the Central District of California. The complaint alleges violation of

§10b of the Securities Exchange Act against RINO International’s auditor. This action is in

discovery.




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        Zhu v. UCBH Holdings, Inc., No. C 09-4208-JSW. The Rosen Law Firm is currently

serving as sole Lead Counsel in this consolidated class action pending in the U.S. District Court

for the Northern District of California. The complaint alleges violations of §§10b and 20(a) of

the Securities Exchange Act arising out of the Company’s issuance of materially false and

misleading statements of revenue and earnings, and the Company’s banking operations and

business. This action is in discovery.

        Kevin Lam v. Iradimed Corporation, No. 14-cv-23337-KMM. The Rosen Law firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the Southern District of Florida. The complaint alleges violations of §§ 10b and 20(a) of the

Securities Exchange Act of 1934 in connection with the Company’s failure to properly disclose

adverse information about the regulatory compliance of its products. This action is at the

pleading stage.

        Cheung v. Keyuan Petrochemicals, Inc., No. CV 11-9495-PSG (JCGx). The Rosen Law

firm is currently serving as sole Lead Counsel in this class action pending in the U.S. District

Court for the Central District of California. The complaint alleges violations of §§ 10b and 20(a)

of the Securities Exchange Act of 1934 in connection with the Company’s failure to disclose

material related party transactions in periodic reports it filed with the SEC. This action is in

discovery.

        Omanoff v. Patrizio & Zhao LLC, No. 2:14-cv-723-FSH-JBC. The Rosen Law Firm is

currently serving as sole lead counsel in this class action pending in the U.S. District Court for

the District of New Jersey. The complaint alleges that Patrizio & Zhao, LLC, as auditor for

Keyuan Petrochemicals, Inc., issued materially false and misleading audit opinions. This action

is at the pleading stage.




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       Cianci v. Blue Earth, Inc., No. CV-14-08263 DSF (JEMx). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the Central District of California. The complaint alleges violations of the Exchange Act arising

out of the Company’s issuance of materially false and misleading financial statements. This

action is at the pleading stage.

       In re Puda Coal Securities Litigation, No. 11-CV-2598 (DLC). The Rosen Law Firm is

currently serving as co-Lead Counsel in this consolidated class action pending in the U.S.

District Court for the Southern District of New York. The complaint alleges violations of the

Exchange Act and Securities Act arising out of the Company’s issuance of materially false and

misleading financial statements. The class is certified and this action is in discovery.

       In re Lihua International, Inc. Sec. Litig., No. 14-CV-5037 (RA). The Rosen Law Firm is

currently serving as sole Lead Counsel in this class action pending in the U.S. District Court for

the Southern District of New York. The complaint alleges violations of the Securities Exchange

Act of 1934 in connection with the Company’s issuance of materially false and misleading

financial statements. This action is at the pleading stage.

       Gauquie v. Albany Molecular Research, No. 14-CV-6637 (FB) (SMG). The Rosen Law

Firm is currently serving as sole Lead Counsel in this class action pending in the U.S. District

Court of the Eastern District of New York. The complaint alleges violation of §10b and 20(a) of

the Securities Exchange Act out of the Company’s misstatements about its true financial

condition and prospects. This action is at the pleading stage.

       Romero v. Growlife, Inc., Case No. 2:14-cv-03015-CAS (JEMx). The Rosen Law Firm

is currently serving as sole Lead Counsel in this consolidated class action pending in the U.S.

District Court for the Central District of California. The complaint alleges violations of §§10b




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and 20(a) of the Securities Exchange Act arising the issuance of false statements concerning the

Company’s true financial condition. This action is at the pleading stage.

       Vandevelde v. China Natural Gas, Inc., Case no. 10-728-SLR. The Rosen Law Firm is

currently serving as sole Lead Counsel in the class action pending in the U.S. District Court for

the District of Delaware. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the issuance of materially false and misleading financial statements.

This action is in discovery.

       Abrams v. MiMedx Group, Inc., No. 1:13-cv-03074-TWT. The Rosen Law Firm is

currently serving as sole Lead Counsel in this consolidated class action pending in the U.S.

District Court for the Northern District of Georgia. The complaint alleges violations of §§ 10b

and 20(a) of the Securities Exchange Act arising out of the Company’s issuance of false

statements relating the regulatory compliance of its products. This action is in discovery.

       In re China XD Plastics Company Limited Securities Litigation, No. 1:14-cv-05308

(GBD). The Rosen Law Firm is currently serving as sole Lead Counsel in this consolidated class

action pending in the U.S. District Court for the Southern District of New York. The complaint

alleges violations of §§ 10b and 20(a) of the Securities Exchange Act arising out of the

Company’s issuance of false financial statements. This action is at the pleading stage.

       In re Montage Technology Group Limited Securities Litigation, No. 3:2014-cv-0722 (SI).

The Rosen Law Firm is currently serving as sole Lead Counsel in this consolidated class action

pending in the U.S. District Court for the Northern District of California. The complaint alleges

violations of §§ 10b and 20(a) of the Securities Exchange Act arising out of the Company’s

issuance of false statements relating to certain undisclosed related party transactions and the

Company’s revenue. This action is in discovery.




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       Yang v. Tibet Pharmaceuticals, Inc., No. 14-cv-3538 (FSH). The Rosen Law Firm is

currently serving as sole Lead Counsel in this consolidated class action pending in the U.S.

District Court for the District of New Jersey. The complaint alleges violations of the Securities

Act of 1933 in connection with material misrepresentations in the Company’s Registration

Statement and Prospectus issued for the Company’s public offering of common stock. The

action is in discovery.

       Luo v. Qiao Xing Universal Resources, Inc., No. 12-45-WAL-GWC. The Rosen Law

Firm is currently serving as sole Lead Counsel in this consolidated class action pending in the

U.S. District Court of the Virgin Islands, St. Croix Division. The complaint alleges violations of

the Exchange Act in connection with the Company’s issuance of materially false and misleading

financial statements. The action is at the pleading stage.

       In re Poseidon Concepts Securities Litigation, No. 13-CV-1213 (DLC). The Rosen Law

Firm is currently serving as sole Lead Counsel in this class action pending in the U.S. District

Court for the Southern District of New York. The complaint alleges violations of §§ 10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of false financial

statements. This action is at the pleading stage.

       In re DNTW Chartered Accountant Securities Litigation, No. 13-CV-4632 (PGG). The

Rosen Law Firm is currently serving as sole lead counsel in this consolidated class action

pending in the U.S. District Court for the Southern District of New York. The complaint alleges

that DNTW, as auditor for Subaye Inc., issued materially false and misleading audit opinions.

This action is at the pleading stage.

       In re Petrochina Company Ltd. Securities Litigation, No. 12: Cv-6180 (ER). The Rosen

Law Firm is currently serving as sole lead counsel in this consolidated class action pending in the

U.S. District Court for the Southern District of New York. The complaint alleges that the

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Company issued materially false and misleading information about its business practices in

China. This action is at the pleading stage.

       Berry v. KIOR, Inc., No. 13-CV-2443. The Rosen Law Firm is currently serving as co-

Lead Counsel in this class action pending in the U.S. District Court for the Southern District of

Texas. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading financial statements.

This action is at the pleading stage.

       Deering v. Galena Biopharma, Inc., No. 3:14-cv;00367-SI. The Rosen Law Firm is

currently serving as co-Lead Counsel in this class action pending in the U.S. District Court for

District of Oregon. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company concealing an undisclosed stock promotion scheme.

This action is at the pleading stage.

       Singh v. Tri-Tech Holding, Inc., No. 13-CV-9031 (KMW). The Rosen Law Firm is

currently serving as co-Lead Counsel in this class action pending in the U.S. District Court for

Southern District of New York. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act arising out of the Company concealing its true financial condition. This

action is at the pleading stage.

       Simmons v. FAB Universal Corp., No. 13-CV-8216 (RWS). The Rosen Law Firm is

currently serving as co-Lead Counsel in this consolidated class action pending in the U.S.

District Court for Southern District of New York. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company concealing its true financial

condition. This action is at the pleading stage.

       Nasyrova v. Immunomedics, Inc., No. 2:14-CV-01269 (SRC). The Rosen Law Firm is

currently serving as Lead Counsel in this class action pending in the U.S. District Court for

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District of New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities

Exchange Act arising out of the Company concealing its true financial condition. This action is

at the pleading stage.

       Kelsey v. Textura Corporation, No. 14 C 7837. The Rosen Law Firm is currently serving

as Lead Counsel in this class action pending in the U.S. District Court for Northern District of

Illinois. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out allegations that the Company misstated its true financial condition. This action is at

the pleading stage.

       Pena v. iBio, Inc., 14-CV-1343-RGA. The Rosen Law Firm is sole Lead Counsel in this

class action pending in the U.S. District Court for the District of Delaware. The complaint

alleges violations of §§10b and 20(a) of the Securities Exchange Act arising out misstatements

and omissions relating to the Company’s purported involvement with an Ebola treatment. This

action is at the pleading stage

       Miller v. Global Geophysical Services, No. 14-CV-708. The Rosen Law Firm is

currently serving as Lead Counsel in this consolidated class action pending in the U.S. District

Court for Southern of Texas. The complaint alleges violations of §§10b and 20(a) of the

Securities Exchange Act and Sections 11 and 15 of the Securities Act arising out a financial

restatement. This action is at the pleading stage.

       In re Amtrust Financial Services, Inc. Securities Litigation, No. 14-CV-736 (VEC). The

Rosen Law Firm is currently serving as co-Lead Counsel in this consolidated class action

pending in the U.S. District Court for Southern District of New York. The complaint alleges

violations of §§10b and 20(a) of the Securities Exchange Act arising out of the Company

concealing its true financial condition. This action is at the pleading stage.




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       In re COTY Inc. Securities Litigation, No. 14 Civ. 0919 (RJS). The Rosen Law Firm is

currently serving as co-Lead Counsel in this consolidated class action pending in the U.S.

District Court for Southern District of New York. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company concealing its true financial

condition. This action is at the pleading stage.

       Beck v. Walter Investment Management, No. 14-cv-20880-UU. The Rosen Law Firm is

currently serving as co-Lead Counsel in this consolidated class action pending in the U.S.

District Court for Southern District of Florida. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company concealing its true financial

condition. This action is at the pleading stage.

       Pollock v. China Ceramics Co. Ltd, No. 1:14-cv-4100 (VSB). The Rosen Law Firm is

currently serving as co-Lead Counsel in this consolidated class action pending in the U.S.

District Court for Southern District of New York. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company’s lack of internal controls. This

action is at the pleading stage.

       Menaldi v. Och-Ziff Capital Management Group LLC, No. 14-CV-3251 (JPO). The

Rosen Law Firm is currently serving as co-Lead Counsel in this class action pending in the U.S.

District Court for Southern District of New York. The complaint alleges violations of §§10b and

20(a) of the Securities Exchange Act arising out of the Company’s issuance of materially false

and misleading business information. The case is at the pleading stage.

       Li v. Aeterna Zentaris. Inc., No. 14-CV-07081 (PGS). The Rosen Law Firm is currently

serving as co-Lead Counsel in this class action pending in the U.S. District Court for District of

New Jersey. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act




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arising out of the Company’s issuance of materially false and misleading business information.

The case is at the pleading stage.

       Taormina v. Annie’s, Inc., CV-14-02711-BLF. The Rosen Law Firm is currently serving

as co-Lead Counsel in this class action pending in the U.S. District Court for Northern District of

California. The complaint alleges violations of §§10b and 20(a) of the Securities Exchange Act

arising out of the Company’s issuance of materially false and misleading business information.

The case is at the pleading stage.

       Petrie v. Electronic Game Card, Inc., No. SACV 10-0252-DOC (RNBx). The Rosen

Law Firm is currently serving as sole Lead Counsel in this consolidated class action. Following

dismissal of the complaint by the district court, the Rosen Firm obtained a reversal of the

dismissal from U.S. Court of Appeals for the Ninth Circuit. The complaint alleges violations of

§§10b and 20(a) of the Securities Exchange Act arising out of the Company’s issuance of

materially false and misleading financial statements in violation of Generally Accepted

Accounting Principles and the Company’s publicly stated internal policies. The action is in

discovery.

       In re ChinaCast Education Corporation Sec. Litig., No. CV 12-4621- JFW (PLAx). The

Rosen Law Firm is currently serving as co-Lead Counsel in this consolidated class action

currently on appeal with the U.S. Court of Appeals for the Ninth Circuit. The complaint alleges

violations of §§10b and 20(a) of the Securities Exchange Act arising out of the Company

overstating it assets and cash balances and misstating the Company’s internal controls.

       In re Zagg Securities Litigation, No. 12-CV-852-DB. The Rosen Law Firm is currently

serving as co-Lead Counsel in this consolidated class action currently on appeal with the U.S.

Court of Appeals for the Tenth Circuit. The complaint alleges violations of §§10b, 20(a), 14(a)




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of the Securities Exchange Act arising out of undisclosed stock transactions involving Zagg’s

CEO and Chairman.




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